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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 BROWN RUDNICK LLP,

      Plaintiff and Defendant-in-Counterclaim,
                                                                Civil Action No. 21-cv-11964
     v.

 CHRISTOF INDUSTRIES GLOBAL GMBH
 and FMT US INC.,

    Defendants and Plaintiffs-in-Counterclaim.


                 DEFENDANTS AND PLAINTIFFS-IN-COUNTERCLAIM’S
                               STATUS REPORT

          In accordance with the Court’s November 7, 2022 electronic order (ECF No. 63), Defend-

ants and Plaintiffs-in-Counterclaim Christof Industries Global GmbH (“Christof”) and FMT US,

Inc. (“FMT”) (collectively, “Defendants”) respectfully submit this Status Report.

          Defendants previously informed the Court that several of Christof’s subsidiaries were in

insolvency proceedings in Austria. On November 25, 2022, insolvency proceedings were opened

against Christof itself. On February 14, 2023, Christof and its counsel will meet with the inde-

pendent third-party administrator of the insolvency proceedings to discuss the above-captioned

case. After that meeting, Christof will know whether it can proceed with the March 2, 2023 as

planned, and will notify the Court and Brown Rudnick immediately.


                                                      Respectfully submitted,

                                                      CHRISTOF INDUSTRIES GLOBAL
                                                      GMBH and FMT US, INC.

                                                      By their attorneys,
                                                      /s/ Rachel C. Hutchinson
                                                      Benjamin J. Wish (BBO # 672743)
                                                      Rachel K. Hutchinson (BBO # 696739)
                                                      TODD & WELD LLP

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Dated: January 27, 2023




                                CERTIFICATE OF SERVICE

       I, Rachel C. Hutchinson, hereby certify that this document has been filed through the ECF
system and will be sent electronically to the registered participants as identified on the notice of
Electronic Filing (NEF).


                                                             /s/ Rachel C. Hutchinson
                                                             Rachel C. Hutchinson




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